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                   UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MASSACHUSETTS


AARON L. BROWN, PETER A. YOUNG, )
NINA DANIEL, RUSSELL S. CRABTREE, )
KIMBERLY L. NESBITT and ERIN N. ) CIVIL ACTION NO.: 1:22-cv-10976-DJC
WHEELER, individually and on behalf of all )
others similarly situated,                 )
                                           )
                           Plaintiff,      )
               v.                          )
                                           )
THE MITRE CORPORATION, THE                 )
BOARD OF TRUSTEES OF THE                   )
MITRE CORPORATION, THE                     )
INVESTMENT ADVISORY COMMITTEE )
OF THE MITRE CORPORATION and JOHN )
DOES 1-30.                                 )
                                           )
Defendants.                                )

    [PROPOSED] ORDER GRANTING PRELIMINARY APPROVAL OF CLASS
       ACTION SETTLEMENT, APPROVAL OF FORM AND MANNER OF
     SETTLEMENT NOTICE, AND SCHEDULING OF A FAIRNESS HEARING




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       This Action involves claims for alleged violations of the Employee Retirement Income

Security Act of 1974, 29 U.S.C. § 1001, et seq. (“ERISA”), with respect to the MITRE Corporation

Tax Sheltered Annuity Plan (“TSA Plan”) and the Qualified Retirement Plan (“QRP Plan”)

(“Plans”). 1 The terms of the Settlement are set out in the Settlement Agreement, fully executed as

of September 9, 2024, by counsel on behalf of the Named Plaintiffs, all Class Members, and

Defendants, respectively.

       Pursuant to the Named Plaintiffs’ Unopposed Motion for Preliminary Approval of Class

Action Settlement, Approval of Form and Manner of Settlement Notice, and Scheduling of a

Fairness Hearing filed on September 9, 2024, the Court preliminarily considered the Settlement to

determine, among other things, whether the Settlement is sufficient to warrant the issuance of

notice to members of the proposed Settlement Class. Upon reviewing the Settlement Agreement

and attendant motion papers and the matter having come before the Court at the

_______________________ hearing, due notice having been given and the Court having been

fully advised in the premises, it is hereby ORDERED, ADJUDGED, AND DECREED as

follows:

       1.      Certification of the Settlement Class. The Court previously certified a class on

September 18, 2023 (ECF No. 81) and appointed class representatives and class counsel. For

purposes of Settlement, and pursuant to Rules 23(a) and (b)(1) of the Federal Rules of Civil

Procedure, this Court modifies the previously certified Class definition and period as follows. The

“Settlement Class” shall be:

               All persons who participated in the MITRE Corporation Tax Sheltered Annuity
               Plan (“TSA Plan”) and the Qualified Retirement Plan (“QRP Plan”) (collectively,
               the “Plans”) at any time during June 22, 2016 through the [date of the Preliminary


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       All capitalized terms not otherwise defined in this Order shall have the same meaning as
ascribed to them in the Settlement Agreement.
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                Approval Order], and any Alternate Payee of a Person subject to a QDRO who
                participated in the Plan at any time during the Class Period. Excluded from the
                Settlement Class are Defendants and their Beneficiaries.

        2.      The Court appoints the Named Plaintiffs Peter A. Young, Nina Daniel, Russell S.

Crabtree, Kimberly L. Nesbitt And Erin N. Wheeler, as Class Representatives for the Settlement

Class and Capozzi Adler, P.C., as Class Counsel for the Settlement Class.

        3.      Preliminary Approval of Proposed Settlement – The Settlement Agreement is

hereby preliminarily approved as fair, reasonable, and adequate. This Court preliminarily finds

that:

             a) The Settlement was negotiated vigorously and at arm’s-length by Defense Counsel,

                on the one hand, and the Named Plaintiffs and Class Counsel on behalf of the

                Settlement Class, on the other hand;

             b) Named Plaintiffs and Class Counsel had sufficient information to evaluate the

                settlement value of the Action and have concluded that the Settlement is fair,

                reasonable and adequate;

             c) If the Settlement had not been achieved, Named Plaintiffs and the Settlement Class

                faced the expense, risk, and uncertainty of protracted litigation;

             d) The Gross Settlement Amount of Three million four hundred thousand dollars

                ($3,400,000.00) is fair, reasonable, and adequate, taking into account the costs,

                risks, and delay of litigation, trial, and appeal. The method of distributing the Class

                Settlement Amount is efficient, relying on Defendants’ records and requiring no

                filing of claims. The Settlement terms related to attorneys’ fees do not raise any

                questions concerning fairness of the Settlement, and there are no agreements, apart

                from the Settlement, required to be considered under FED. R. CIV. P.

                23(e)(2)(C)(iv).
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            e) At all times, the Named Plaintiffs and Class Counsel have acted independently of

               the Defendants and in the interest of the Settlement Class; and

            f) The proposed Plan of Allocation is fair, reasonable, and adequate.

       4.      Establishment of Qualified Settlement Fund – A common fund is agreed to by

the Settling Parties in the Settlement Agreement and is hereby established and shall be known as

the “Settlement Fund.” The Settlement Fund shall be a “qualified settlement fund” within the

meaning of Treasury Regulations § 1.468-1(a) promulgated under Section 468B of the Internal

Revenue Code. The Settlement Fund shall be funded and administered in accordance with the

terms of the Settlement. Defendants shall have no withholding, reporting or tax reporting

responsibilities with regard to the Settlement Fund or its distribution, except as otherwise

specifically identified in the Settlement. Moreover, Defendants shall have no liability, obligation,

or responsibility for administration of the Settlement Fund or the disbursement of any monies from

the Settlement Fund except for: (1) their obligation to cause the Gross Settlement Amount to be

paid; and (2) their agreement to cooperate in providing information that is necessary for settlement

administration set forth in the Settlement Agreement. The Settlement Administrator may make

disbursements out of the Settlement Fund only in accordance with this Order or any additional

Orders issued by the Court. The Settlement Fund shall expire after the Settlement Administrator

distributes all of the assets of the Settlement Fund in accordance with the Settlement Agreement,

provided, however, that the Settlement Fund shall not terminate until its liability for any and all

government fees, fines, taxes, charges and excises of any kind, including income taxes, and any

interest, penalties or additions to such amounts, are, in the Settlement Administrator’s sole

discretion, finally determined and all such amounts have been paid by the Settlement Fund. The

Court and the Settlement Administrator recognize that there will be tax payments, withholding and


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reporting requirements in connection with the administration of the Settlement Fund. The

Settlement Administrator shall, in accordance with the Settlement Agreement, determine,

withhold, and pay over to the appropriate taxing authorities any taxes due with respect to any

distribution from the Settlement Fund and shall make and file with the appropriate taxing

authorities any reports or returns due with respect to any distributions from the Settlement Fund.

The Settlement Administrator also shall determine and pay any income taxes owing with respect

to the income earned by the Settlement Fund. Additionally, the Settlement Administrator shall file

returns and reports with the appropriate taxing authorities with respect to the payment and

withholding of taxes. The Settlement Administrator, in its discretion, may request expedited

review and decision by the IRS or the applicable state or local taxing authorities, with regard to

the correctness of the returns filed for the Settlement Fund and shall establish reserves to assure

the availability of sufficient funds to meet the obligations of the Settlement Fund itself and the

Settlement Administrator as fiduciaries of the Settlement Fund. Reserves may be established for

taxes on the Settlement Fund income or on distributions. The Settlement Administrator shall have

all the necessary powers, and take all necessary ministerial steps, to effectuate the terms of the

Settlement Agreement, including the payment of all distributions. Such powers include investing,

allocating and distributing the Settlement Fund, and in general supervising the administration of

the Settlement Agreement in accordance with its terms and this Order.             The Settlement

Administrator shall keep detailed and accurate accounts of all investments, receipts, disbursements

and other transactions of the Settlement Fund. All accounts, books and records relating to the

Settlement Fund shall be open for reasonable inspection by such persons or entities as the Court

orders.    Included in the Settlement Administrator’s records shall be complete information

regarding actions taken with respect to the award of any payments to any person; the nature and


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status of any payment from the Settlement Fund and other information which the Settlement

Administrator considers relevant to showing that the Settlement Fund is being administered, and

awards are being made, in accordance with the purposes of the Settlement Agreement, this Order,

and any future orders that the Court may find it necessary to issue.

          5.    Fairness Hearing – A hearing is scheduled for _____________________ [at least

120 days after preliminary approval] to make a final determination, concerning among other

things:

          •     Any objections from Class Members to the Settlement or any aspects of it.

          •     Whether the Settlement merits final approval as fair, reasonable, and adequate;

          •     Whether the Action should be dismissed with prejudice pursuant to the terms of the

                Settlement;

          •     Whether Class Counsel adequately represented the Settlement Class for purposes

                of entering into and implementing the Settlement;

          •     Whether the proposed Plan of Allocation should be granted final approval; and

          •     Whether Class Counsel’s application(s) for Attorneys’ Fees and Costs and Case

                Contribution Awards to the Named Plaintiffs are fair and reasonable, and should be

                approved.

          6.    Settlement Notice – The Court approves the form of Settlement Notice attached as

Exhibit A to the Settlement Agreement. The Court finds that such form of notice fairly and

adequately: (a) describes the terms and effects of the Settlement Agreement, the Settlement, and

the Plan of Allocation; (b) notifies the Settlement Class that Class Counsel will seek attorneys’

fees and litigation costs from the Settlement Fund, payment of the costs of administering the

Settlement out of the Settlement Fund, and for a Case Contribution Award for the Named Plaintiffs


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for their service in such capacity; (c) gives notice to the Settlement Class of the time and place of

the Fairness Hearing; and (d) describes how the recipients of the Settlement Notice may object to

any of the relief requested.

       7.       Settlement Administrator – The Court hereby approves the appointment of

Analytics LLC (“Analytics”) as the Settlement Administrator for the Settlement. The Court directs

that the Settlement Administrator shall:

            •   By no later than __________________ (thirty-five days after entry of this Order),

                cause the Settlement Notice, with such non-substantive modifications thereto as

                may be agreed upon by the Parties, to be provided by first-class mail, postage

                prepaid, to the last known address of each member of the Settlement Class who can

                be identified through reasonable effort. Prior to mailing the Settlement Notice,

                Analytics shall conduct an advanced address research (via skip-trace databases) in

                order to identify current mailing address information for the Settlement Class

                members. Additionally, Analytics must update the Settlement Class member

                address information using data from the National Change of Address (“NCOA”)

                database. After mailing the Settlement Notice, Analytics shall use commercially

                reasonable efforts to locate any Class Member whose Settlement Notice is returned

                and re-send such documents one additional time.

            •   By no later than ______________________ (thirty days after entry of this Order),

                cause the Settlement Notice to be published on the website identified in the

                Settlement Notice, www.MITREERISAsettlement.com, which will also host and

                make available copies of all Settlement-related documents, including the

                Settlement Agreement.


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                •   The Court finds that the contents of the Settlement Notice and the process described

                    herein and in the Settlement are the best notice practicable under the circumstances,

                    and satisfy the requirements of Rule 23(c) and Due Process.

          8.        Petition for Attorneys’ Fees, Litigation Costs and Case Contribution Awards

– Any petition by Class Counsel for attorneys’ fees, litigation costs and Case Contribution Awards

to the Named Plaintiffs, and all briefs in support thereof, shall be filed no later than

___________________ (thirty days before the date for filing Objections specified in this Order).

          9.        Briefs in Support of Final Approval of the Settlement – Briefs and other

documents in support of final approval of the Settlement shall be filed no later than

_______________________ (thirty days before the date for filing objections specified in this

Order).

          10.       Objections to Settlement – Any member of the Settlement Class or authorized

recipient of any CAFA Notice may file an objection to the fairness, reasonableness, or adequacy

of the Settlement, to any term of the Settlement Agreement, to the Plan of Allocation, to the

proposed award of attorneys’ fees and litigation costs, to the payment of costs of administering the

Settlement out of the Settlement Fund, or to the request for a Case Contribution Award for the

Named Plaintiffs. An objector must file with the Court a statement of his, her, or its objection(s),

specifying the reason(s), if any, for each such objection made, including any legal support and/or

evidence that the objector wishes to bring to the Court’s attention or introduce in support of the

objection(s). The address for filing objections with the Court is as follows:

                                              Clerk of the Court
                                     John Joseph Moakley U.S. Courthouse
                                        1 Courthouse Way, Suite 2300
                                         Boston, Massachusetts 02210

                Re: Brown et al. v. The MITRE Corporation, et al., No. 1:22-cv-10976-DJC

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          The objector or his, her, or its counsel (if any) must file the objection(s) and supporting

materials with the Court and provide a copy of the objection(s) and supporting materials to Class

Counsel and Defense Counsel at the addresses in the Settlement Notice no later than

_____________ (thirty days before the date of the Fairness Hearing specified in this Order). If an

objector hires an attorney to represent him, her, or it for the purposes of making an objection

pursuant to this paragraph, the attorney must also file a notice of appearance with the Court no

later than __________________ (thirty days before the date of the Fairness Hearing specified in

this Order). Any member of the Settlement Class or other Person who does not timely file a written

objection complying with the terms of this paragraph shall be deemed to have waived, and shall

be foreclosed from raising, any objection to the Settlement, and any untimely objection shall be

barred.         Any responses to objections shall be filed with the Court no later than

______________________ (seven days before the date of the Fairness Hearing specified in this

Order). There shall be no reply briefs.

          11.      Any additional briefs the Parties may wish to file in support of the Settlement shall

be filed no later than _________________________ (seven days before the date of the Fairness

Hearing specified in this Order).

          12.      Appearance at Final Approval Hearing – Any objector who files a timely,

written objection in accordance with paragraph 11 above may also appear at the Fairness Hearing

either in person or through qualified counsel retained at the objector’s expense. Objectors or their

attorneys intending to appear at the Fairness Hearing must file a notice of intention to appear (and,

if applicable, the name, address, and telephone number of the objector’s attorney) with the Court

by no later than ___________________ (seven days before the date of Fairness Hearing specified

in this Order). Any objectors, or their counsel, who does not timely file a notice of intention to

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appear in accordance with this paragraph shall not be permitted to speak at the Fairness Hearing,

except for good cause shown.

       13.    Notice Expenses – The expenses of printing, mailing, and publishing the

Settlement Notice required herein shall be paid exclusively from the Qualified Settlement Fund.

       14.    Parallel Proceedings – Pending final determination of whether the Settlement

Agreement should be approved, the Named Plaintiffs, every Class Member, and the Plan are

prohibited and enjoined from directly, through representatives, or in any other capacity,

commencing any action or proceeding in any court or tribunal asserting any of the Released Claims

against the Released Parties, including Defendants.

       15.    Class Action Fairness Act Notice – The form of notice under the Class Action

Fairness Act of 2005 (“CAFA”) submitted as Exhibit E to the Settlement Agreement complies

with the requirements of CAFA and will, upon mailing, discharge Defendants’ obligations

pursuant to CAFA.

       16.    Continuance of Final Approval Hearing – The Court reserves the right to

continue the Fairness Hearing without further written notice to the Class Members and also may

schedule the hearing to be done by telephone or video conference.

       SO ORDERED this ____ day of _________, 2024.



                                            ______________________________
                                             Denise J. Casper
                                             United States District Judge




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